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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


JENNIFER SMITH,

      Plaintiff,

vs.                                           Case No. 4:24cv367-MW-MAF

FLORIDA AGRICULTURAL &
MECHANICAL UNIVERSITY
BOARD OF TRUSTEES,
ALLYSON WATSON, DENISE
WALLACE, LATONYA BAKER,
LATRECHA SCOTT, RICA
CALHOUN, GRAY ROBINSON, P.A.,
JULIE ZOLTY, RICHARD E.
MITCHELL, and SARAH REINER,

     Defendants.
______________________________/


                                  ORDER

      On September 11, 2024, this case was transferred from the United

States District Court for the Middle District of Florida to this Court. While

filing notices pertaining to discovery may be required by that Court, such

notices no longer should be filed here. Discovery should proceed in

accordance with the Federal Rules of Civil Procedure and the parties shall

serve but shall not file with the Clerk copies of disclosures, discovery
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materials (including notices of deposition, deposition transcripts,

interrogatories, responses to interrogatories, production requests,

responses to production requests, admissions requests, or responses to

admissions requests), unless and until needed for consideration of

pending motions by the Court. N.D. Fla. Loc. R. 26.1.

      Plaintiff has filed an emergency objection to this Court’s prior Order,

ECF No. 186. ECF No. 190. In particular, the Order required Plaintiff to

file a third amended complaint by October 1, 2024, finding that doing so

would not interfere with Plaintiff’s interlocutory appeal of the Middle

District’s denial of Plaintiff’s third motion for a preliminary injunction, ECF

No. 86. ECF No. 164. Further, Defendant FAMU was required to file a

response to Plaintiff’s motion to stay this case, ECF No. 176, by

September 25, 2024, and Plaintiff was given until October 15, 2024, to

demonstrate that service has been carried out on all Defendants other than

FAMU, or otherwise clarify the status of service. ECF No. 186. It appears

that Plaintiff challenges that part of the Order which required her to file her

amended complaint before her appeal has been decided. ECF No. 190.

The Clerk of Court shall immediately refer Plaintiff’s objections to the

presiding District Judge.

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      Accordingly, it is

      ORDERED:

      1. The Clerk of Court shall immediately refer Plaintiff’s emergency

objection, ECF No. 190, to the presiding District Judge.

      2. The deadlines previously set in the prior Order, ECF No. 186,

shall remain unless changed by ruling of the presiding District Judge.

      3. The parties have until October 4, 2024, to point to a specific

motion which was pending at the time of transfer, and to outline their

discovery needs and estimations of the time necessary to complete

discovery.

      4. Defendant FAMU must respond to Plaintiff’s motion to stay this

case, ECF No. 176, by September 25, 2024.

      5. Plaintiff has until October 1, 2024, to file a “third amended

complaint” which shall be no longer than 30 pages.

      6. The Clerk of Court shall return this file upon receipt of Plaintiff’s

third amended complaint or no later than October 4, 2024.

      DONE AND ORDERED on September 23, 2024.

                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE
Case No. 4:24cv367-MW-MAF
